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       ORDERED in the Southern District of Florida on August 25, 2023.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION

       In re:                                                           CASE NO: 22-19436-RAM
                                                                        CHAPTER 13
       PAOLA ANGULO, aka Paola Angulo Zapata,

             Debtor(s).
       _________________________________________/

                                  AMENDED1 ORDER DENYING IN PART
                             REGIONS BANK’S MOTION TO DISMISS (ECF NO. 59)

                  THIS CASE came before the Court for a hearing on August 15, 2023 at 9:00AM upon

       the Motion to Dismiss Chapter 13 Case For Failure to Modify Plan After Mortgage Modification

       Mediation (ECF No. 59) (the “Motion”) filed by Regions Bank, its successors and/or assigns

       (“Secured Creditor”). The Court being otherwise more fully advised in the premises, it is

                  ORDERED:

                  1.       The Motion (ECF No. 59) is DENIED IN PART. The Bankruptcy Case shall

       remain open and is not dismissed.

                  2.       The automatic stay arising under 11 U.S.C. § 362 is terminated with respect to the

       real property located at 200 Biscayne Boulevard Way, Apt 4702, Miami, FL 33131 (the
       1
           Amended to clarify that the case remains open and is not dismissed.
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“Property”), which is legally described as:




       3.      That the Trustee is directed to cease making any further distributions to the

Secured Creditor.


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Attorney Teresa M. Hair is directed to serve a copy of this order on interested parties and file a
certificate of service within 3 business days of entry of the order.


Submitted by:

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Attorney for Secured Creditor
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